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F TASER EVIDENCEOSYNC

PR OO T &

TASER Information Cfiine Report

Seriai X120038Y?7 Local Timezone Central Standard Time (UTC -06:00)
Model TASER X26P Generzted On 16 Dec 2016 08:31:31

Firmware Version Rev. 04,024

Anplication Version 3.15.37

Health Good

Device (X25?)

Seq # Local Time Eveni Duration Temp Bati Remaining
[DD:MM:YYYY¥ bh:mmiss] [Event Type] [Seconds] [Degrees Cetstus] [%]

1 03 May 2015 15:06:28 Power Magazine Change] Manufacturing S/N: XXXXX6 Battery capacity: 100%

2 . 03 May 2015 15:06:28 Firmware Update FW Bundle, Rev. 04.010, 7/23/14

3 03 May 2015 15:06:28 Firmware Update MC, Rev. 04.010, 7/23/14

4 03 May 2015 15:06:28 Firraware Update LDR, Rev. 04.009, 7/22/14

5 03 May 2015 15:06:28 Firmware Update HVM, Rev. 01.022, 6/6/14

6 03 May 2015 15:06:28 Armed 29 : 100

? 03 May 2015 15:06:39 Safe it 29 99

B 03 May 2015 15:55:50 Power Magazine Change} Standard S/N: 197227 Battery capacity: 74%

9 03 May 2015 15:55:50 Armed { 27 74

10 03 May 2015 15:55:51 Safe 1 26 74

il 03 May 2015 18:51:20 Power Magazine Change] Manufacturing S/N: DPMOQQ0 Battery capacity: 100%

12 03 May 2015 18:51:20 Armed ~ 25 100 ~

13 03 May 2015 18:51:21 Trigger 5 100

14 03 May 2015 18:51:29 Trigger 5 . 99

15 03 May 2015 18:51:36 Trigger 5 99

16 03 May 2015 18:51:41 Trigger 5 99

17 03 May 2015 18:51:47 Trigger 5 99

18 03 May 2015 18:51:52 Trigger 5 99

19 03 May 2015 18:51:57 Trigger 5 99

20 : 03 May 2015 18:52:03 Trigger ~ 99

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| Seq # Local Time Event Duration Temp Batt Remaining
(DO:MM:Y¥YVY hh:mm:ss] [Event Type] [Second:] [Degrzes Celsius] [%o]
21 03 May 2015 18:52:08 Trigger 5 99
22 03 May 2015 18:52:14 Trigger 5 99 |
23 03 May 2015 18:52:20 Trigger 5 99
24 03 May 2015 18:52:26 Safe 66 32 99
25 03 May 2015 19:10:22 Armed 2? 100
26 03 May 2015 19:10:23 Trigger 5 100
27 03 May 2015 19:10:34 ' Trigger 5 99
28 03 May 2015 19:10:39 Safe 17 27 99
29 03 May 2015 19:10:42 | Configuration
30 03 May 2015 19:10:44 Configuration Exit
31 03 May 2015 19:10:44 Armed 28 100
32 03 May 2015 19:10:45 Safe 1 ~T 28 100
33 03 May 2015 19:10:53 Power Magazine Change} Standard SIN: 197235 Battery capacity: 79%
34 03 May 2015 19:10:53 Armed 28 79
35 03 May 2015 19:10:55 Safe 2 29 79
36 03 May 2015 19:11:15 USB Connected
3? 03 May 2015 19:11:31 Firmware Update Mc, Rev. 04.010, 7/23/14
38 03 May 2015 19:11:31 Firmware Update LDR, Rev. 04.009, 7/22/14
39 03 May 2015 19:11:31 Firmware Update HVM, Rev. 01.022, 6/6/14
40 03 May 2015 19:11:32 Time Sync 03 May 2015 19:11:32 to 03 May 2015 19:11:32
41 25 Aug 2015 18:59:14 Power Magazine Change} Standard S/N: 262059 Battery capacity: 100%
42 25 Aug 2015 18:59:14 Armed 26 100
43 25 Aug 2015 18:59:21 Safe ? 27 99 ™
44 25 Aug 2015 19:00:00 Armed 27 99
45 25 Aug 2015 19:00:07 Safe ? . 2? 99
46 25 Aug 2015 19:00:08 Armed 27 99
4? 25 Aug 2015 19:00:17 Safe 9 28 99
48 25 Aug 2015 19:00:54 Armed 28 99
49 25 Aug 2015 19:00:56 Safe 2 28 99
50 - 25 Aug 2015 19:01:29 Armed 28 99

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Sea # Local Time Event Durstion Temp Bati Remaining
TOD: MM VYY hh:mmiss} [Event Type] [Seconds] [Degrees Calslus) [%e]

51 25 Aug 2015 19:01:31 Safe 2 29 99
52 25 Aug 2015 19:01:38 Armed 28 99
53 25 Aug 2015 19:01:46 Safe 8 28 99
54 25 Aug 2015 19:28:25 Armed 28 99
55 25 Aug 2015 19:28:39 Safe 14 29 99
56 25 Aug 2015 20:16:19 Armed 28 99 ~~
5? 25 Aug 2015 20:16:20 Safe . 1 28 99
58 25 Aug 2015 20:16:21 Armed 28 99
59 25 Aug 2015 20:16:23 Safe 2 28 99
60 26 Aug 2015 16:05:17 Armed 29 99
61 26 Aug 2015 16:05:18 Safe 1 29 99
62 26 Aug 2015 16:05:19 Armed 29 99
63 26 Aug 2015 16:05:20 Safe 1 29 99
64 26 Aug 2015 20:08:23 Armed 28 99
65 26 Aug 2015 20:08:37 Safe 14 28 99
66 28 Aug 2015 20:02:35 Armed 31 99
67 28 Aug 2015 20:02:37 Safe 2 31 99
68 31 Aug 2015 23:35:33 Armed 28 99
69 31 Aug 2015 23:35:35 | Safe 2 29 99
70 06 Sep 2015 13:28:55 | Armed 27 99
71 06 Sep 2015 13:28:57 Trigger 1 99
72 06 Sep 2015 13:28:58 Safe 3 28 99
73 08 Sep 2015 11:59:55 Armed 27 99
74 a8 Sep 2015 11:59:59 Safe 4 2? 99. ~ |
75 08 Sep 2015 12:00:02 Armed 27 99
76 08 Sep 2015 12:00:02 Trigger 1 99
77 08 Sep 2015 12:00:02 Safe 0 . 27 99
78 10 Sep 2015 15:23:06 armed 25 99
79 10 Sep 2015 15:23:07 Safe 1 24 99
80 10 Sep 2015 15:23:08 Armed 24 99

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Seq # " Locai Time Event Duration Temp Bait Remzining
[DD:MM:YYYY hh:mm:c3] [Event Type] [Seconds] {Degrees Celis] [%]
81 10 Sep 2015 15:23:08 Safe 0 24 99
82 10 Sep 2015 15:23:19 F Arrted 24 99
83 10 Sep 2015 15:23:19 Safe 0 25 99
84 10 Sep 2025 15:23:22 Armed 24 99
a5 10 Sep 2015 15:23:23 Trigger lt 99 .
86 10 Sep 2015 15:23:24 Safe 2 24 99
87 10 Sep 2015 15:24:16 Armed 25 99
BB 10 Sep 2015 15:24:22 Safe 6 25 99
| a9 11 Sep 2015 16:39:31 Armed 28 99
50 11 Sep 2015 16:39:31 Trigger 1 99
91 11 Sep 2015 16:39:32 Safe 1 28 99
92 15 Sep 2015 15:37:20 Armed 31 99
93 15 Sep 2015 15:37:46 Safe 26 33 99
94 | 18 Sep 2015 12:14:50 Armed | 27 99
95 18 Sep 2015 12:14:52 Trager 1 99
96 18 Sep 2015 12:14:52 Safe 2 26 99
97 06 Oct 2015 21:19:30 Armed 28 99
98 06 Oct 2015 21:19:49 Safe 19 29 99
99 06 Oct 2015 21:21:05 Armed 29 99
100 06 Oct 2015 21:21:06 Safe 1 29 99
101 "15 Oct 2015 17:31:32 Armed 35 99
102 15 Oct 2015 17:31:35 Thlager i 99
103 15 Oct 2015 17:31:36 Safe 4 M4 99
104 15 Oct 2015 17:31:39 Armed | 34 99
105 15 Oct 2015 17:31:40 Safe 1 35 99
106 16 Oct 2015 09:52:13 Armed 5 95
107 16 Oct 2015 09:52:22 Trigger 1 1 99
108 16 Oct 2015 09:52:23 Safe 10 25 99
109 19 Oct 2015 23:41:35 Armed 27 | 99
110 19 Oct 2015 23:41:36 Safe 1 26 99

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Seq # Local Time Event | Duration Temp Bait Remaining
[DO:MM:YYVY hh:mm:ss] [Event Type] t [Seconds] [Cegrees Celsius) [%o]
i11 19 Oct 2015 23:41:44 Armed 26 99
112 19 Oct 2015 23:41:45 Safe 1 27° 99
113 26 Oct 2015 19:11:57 Armed 27 99
114 26 Oct 2015 19:11:59 Safe 2 27 99
115 26 Oct 2015 19:12:01 Armed 28 99
116 26 Oct 2015 19:12:05 Safe 4 27 99
ii? 26 Oct 2015 19:12:07 Armad 27 99
118 26 Oct 2015 19:13:56 Safe 109 32 59
119 26 Oct 2015 19:13:57 Armed 33 99
120 26 Oct 2015 19:15:13 Safe 76 35 99
1214 26 Oct 2015 19:15:19 Armed 35 99
122 26 Oct 2015 19:15:19 Trigger 1 99
123 26 Oct 2015 19:15:20 Safe 1 34 99
124 30 Oct 2015 22:33:59 Armed 28 95
125 30 Oct 2015 22:34:02 Safe 3 28 99
126 10 Nov 2015 18:46:07 Armed 29 99
127 10 Nov 2015 18:46:08 Safe 1 29 99
128 08 Dec 2015 19:36:19 Armed 20 99
129 08 Dec 2015 19:36:21 Safe 2 20 99
130 14 Dec 2015 16:56:39 Armed 26 99 .
131 14 Dec 2015 16:56:41 Safe 2 26 99
132 24 Dec 2015 16:38:56 Armed 26 99
133 24 Dec 2015 16:39:05 | ‘Trigger 1 99
134 24 Dec 2015 16:39:06 Safe 10 27 _ 99
135 27 Dec 2015 19:06:58 Armed 26 99
136 27 Dec 2015 19:06:58 Trigger 1 99
137 27 Dec 2015 19:06:59 Safe 1 27 99
138 . 06 Jan 2016 17:05:31 Armed 21 99
130 06 Jan 2016 17:05:34 Safe 3 21 99
- 140 06 Jan 2016 17:05:51 Armed 21 ° 99

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Seq # Local Tims Event Duration Temp Batt Remaining
[DD:MMEYYYY hh:mmn:s5] [Event Type] [Seconds]: [Degrees Cebus] [%]
141 06 Jan 2016 17:06:07 . Safe 16 21 99
142 06 Jan 2016 17:06:49 Armed 22 99
143 06 Jan 2016 17:06:51 Safe 2 21 99
144 17 Jan 2016 14:21:38 Armed i5 99
445 17 Jan 2016 14:21:39 Trigger ~— 1 99
146 17 Jan 2016 14:21:39 Safe 1 15 99
147 17 Jan 2016 14:23:46 Armed 16 99
148 17 Jan 2016 14:24:18 Safe 32 18 99
149 17 Jan 2016 14:24:18 Armed 18 99
150 1? Jan 2016 14:24:20 Trigger 5 99
pe
151 17 Jan 2016 14:24:26 Safe 8 18 98
152 17 Fan 2016 14:26:13 Armed 18 98
153 17 Jan 2016 14:26: 14 Trigger 1 58
154 17 Jan 2016 14:26:15 Safe 2 18 58
155 1? Jan 2016 14:26:24 Armed . 19 98
156 17 Jan 2016 14:26:25 Trigger 1 98
157 17 Jan 2016 14:26:26 Safe 2 18 98
158 1? Jan 2016 14:26:31 Armed 19 98
159 1? Jan 2016 14:26:33 Safe i 2 1B 98
160 17 Jan 2016 14:26:40 Armed 19 98
161 1/7 Jan 2016 14:26:41 Trigger 1 98 '
162 17 Jan 2016 14:26:42 Safe 2 19 98
163 28 Jan 2016 19:27:45 Armed 22 98
164 28 Jan 2016 19:28:19 Safe 34 23 98
165 28 Jan 2016 19:28:24 Armed 24 98
168 ‘28.Jan 2016 19:29:13 Safe 49 26 98
167 28 Jan 2016 19:29:21 Armed 26 98
168 28 Jan 2016 19:29:24 Safe 3 27 38
169 28 Jan 2016 19:29:29 Armed 27 98
170 28 Jan 2016 19:31:08 : Safe 99 30 98

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Seq # Local Time Event Suration Temp Batt Remaining
[OD:MM:YYYY hh:mm:ss] E [Event Type] [Seconds] [Degrees Celsius] [%]
171 08 Feb 2016 18:14:19 Armed 23 98
172 08 Feb 2016 18:14:20 Trigger 5 98
173 08 Feb 2016 18:14:32 Safe 13 23 98
174 26 Feb 2016 21:21:21 Armed 24 98
175 26 Feb 2016 22:21:29 Safe 8 "35 98
176 0? Mar 2016 14:13:16 Armed 24 98
177 07 Mar 2016 14:13:18 Trigger 5 98
178 7 Mar 2016 14:13:28 Safe 12 25 98
179 07 Mar 2016 14:14:05 Armed 24 98
180 O? Mar 2016 14:14:12 I Safe ? 25 98
181 22 Mar 2016 20:24:47 Armed 23 98
182 22 Mar 2016 20:27:28 Trigger 1 98
183 22 Mar 2016 20:27:29 Safe 162 31 97 ”
184 22 Mar 2016 20:27:32 Armed 31 97
185 22 Mar 2016 20:27:43 Trigger 1 9?
186 22 Mar 2016 20:27:44 Safe 12 31 o7
187 - 22 Mar 2016 20:27:49 Armed 31 97
188 22 Mar 2016 20:28:05 Safe 16 31 97
189 22 Mar 2016 20:28:68 Armed 31 97
190 22 Mar 2016 20:28:10 Trigger 5 97
i91 22 Mar 2016 20:28:16 Safe 8 31 97
192 "27 Mar 2016 23:25:57 Armed 23 97
193 2? Mar 2016 23:26:08 Safe 11 23 97
194 28 Mar 2016 01:56:36 Armed 27 97
195 28 Mar 2016 01:56:49 Safe 13 27 7
196 30 Mar 2016 19:40:09 Armed 28 7
197 30 Mar 2016 19:40:11 Safe 2 28 9
198 30 Mar 2016 19:40:14 Armed 28 97
199 30 Mar 2016 19:40:17 Safe 3 29 97
200 30 Mar 2016 19:42:06 Armed 28 97

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Sea # Local Time Event Duration Tema Satt Remaining
[DD:MM:YVYY hh:mm:ss] [Event Type] [Seannds} [Dagraes Cebius] [%]
201 30 Mar 2016 19:42:07 Safe 1 28 97
202 30 Mar 2016 19:42:09 Armed 28 97
203 30 Mar 2016 19:42:20 Safe ~ ll 28 97
204 02 Aug 2016 17:29:58 Armed 26 9? -
205 02 Aug 2016 17:30:01 Safe 3 26 7 ~]
206 02 Aug 2016 17:30:49 Armed 26 97
207 02 Aug 2016 17:30:50 Safe 1 26 97
268 09 Aug 2016 14:03:53 Armed 31 97
209 09 Aug 2016 14:03:54 Safe 1 31 9?
210 09 Aug 2016 14:03:56 Armed 31 9?
21i 09 Aug 2016 14:03:58 Trigger 5 97
212 09 Aug 2016 14:04:03 Safe 7 31 57
213 22 Aug 2016 12:31:18 Armed 27 97
214 22 Aug 2016 12:31:20 Trigger 5 97
215 22 Aug 2016 12:31:26 Safe 8 28 9?
216 22 Aug 2016 12:31:45 USB Connected
217 22 Aug 2016 12:21:39 Time Sync 22 Aug 2016 12:31:50 to 22 Aug 2016 12:21:39
218 22 Aug 2016 12:23:45 Firmware Update HVM, Rev. 01.025, 8/4/15
219 22 Aug 2016 12:23:51 Firmware Update FW Bundle, Rev. 04.024, 6/28/16
220 22 Aug 2016 12:23:51 Firmware Update MC, Rev, 04.024, 6/28/16
221 22 Aug 2016 12:23:51 Firmware Update LDR, Rev. 04.013, 12/16/14 °
222 22 Aug 2016 12:23:57 Time Sync 22 Aug 2016 12:23:57 to 22 Aug 2016 12:23:57
223 22 Aug 2016 18:15:36 Armed 23 9?
224 22 Aug 2016 18:15:37 Safe 1 24 97
225 22 Aug 2016 18:17:25 Armed 24 97
226 22 Aug 2016 18:18:06 Safe 41 27 97
227 24 Aug 2016 14:07:36 Armed 26 96
228 24 Aug 2016 14:07:37 Safe i 27 56
229 31 Oct 2016 11:17:09 Armed 26 93
230 31 Oct 2016 11:17:18 Trigger 5 93

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Sec # Local Time Event Duretion Temp Batt Remalning
[DD: MM: ¥YYY hhemm:sa] [Event Type] [Seounds] [Degrees Ceiztus) [%]
231 31 Oct 2016 11:17:37 Safe 28 28 93
232 ol Nov 2016 15:51:09 Armed 26 93
233 01 Nov 2016 15:51:10 : Safe 1 26 93
234 09 Nov 2016 13:49:51 Armed 28 93
235 09 Nov 2016 14:08:14 Safe 1103 47 89
236 08 Dec 2016 13:51:03 Armed 21 . 87
237 08 Dec 2016 13:51:07 Safe 4 21 87
; 238 12 Dec 2016 14:34:26 Armed 25 , 87
239 12 Dec 2016 14:34:44 - Safe 18 26 , 87
240 + 12 Dec 2016 14:34:54 Armed 27 87
. 241 12 Dec 2016 14:34:55 Safe 1 27 : 87
242 13 Dec 2016 08:35:57 Armed 26 87
243 13 Dec 2016 08:36:00 Safe 3 25 87
244 13 Dec 2016 08:41:30 Armed 27 a7
245 13 Dec 2016 08:41:31- Safe 1 27 87
246 : 13 Dec 20 16 08:54:46 Armed 29 87
247 13 Dec 2016 08:54:51 Safe 5 28 87
. 248 13 Dec 2016 08:55:03 Armed 28 87
249 13 Dec 2016 08:56:25 Safe 82 33 8?
250 14 Dec 2016 11:47:19 Armad 2t . 87
251 14 Dec 2016 11:47:21 Trigger 5 87
252 14 Dec 2016 11:49:26 Safe 12? 2? 86
253 14 Dec 2016 15:04:51 : Armed 22 . 86
254 14 Dec 2016 15:04:52 Safe 1 22 36
255 16 Dec 2016 08:22:30 Armed 21 86
+ 256 16 Dec 2016 08:22:32 Safe 2 22 | 86
257 16 Dec 2016 08:31:36 USB Connected
258 16 Dec 2016 08:30:28 Time Syne 16 Dec 2016 08:31:37 to 16 Dec 2016 08:30:28
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